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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


EDWARD “COACH” WEINHAUS,                          )
                                                  )
                Plaintiff,                        )
                                                  )
v.                                                )       No. 4:22-CV-00115-CDP
                                                  )
ALABSERIES.COM, a business partnership,           )
TARIK FAOUD AJAMI, an individual,                 )
ANDREW HUNTER, an individual, and                 )
JOHN DOE #1 and JOHN DOE #2                       )
                                                  )
                Defendants.                       )

       AGREED REQUEST FOR EXTENSION OF TIME TO ANSWER COMPLAINT

           Counsel for Plaintiff and Defendants Tarik Faoud Ajami and Andrew Hunter have agreed

to, and request the Court enter, an extension of time to and including May 31, 2022 for the

answer or other responsive motion or pleading of Defendants Tarik Faoud Ajami and Andrew

Hunter.


Dated: April 4, 2022
                                              THOMPSON COBURN LLP

                                              By Mark Sableman
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                                              Andrew Hunter




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 4, 2022 the foregoing was filed electronically with the Clerk

of The Court to be served by operation of the Court’s electronic filing system to all counsel of

record.



                                                          Mark Sableman




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